* "Case 4:09-cr-00043-SPF Document 340 Filed in USDC ND/OK on 04/23/10 Page 1 of 2

FILED

IN THE UNITED STATES DISTRICT COURT APR 28 2010

FOR THE NORTHERN DISTRICT OF OKLAHOMA .
Phil Lombardi, Clerk

UNITED STATES OF AMERICA U.S. DISTRICT COURT

Plaintiff,
Case No. 09-CR-043-SPF

Vv.

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

Defendants.

NOTICE OF APPEAL

Lindsey K. Springer (“Springer”) files his notice of appeal from the final order
and judgement by the United States Western Judicial District Court Judge Stephen P
Friot dated April “7 4 2010. tothe Tenth Cirenit

5 S. Harvard, # 116
Tulsa, Oklahoma 74135
918-955-8225

April73, 2010

CERTIFICATE OF SERVICE
| hereby certify that a true and correct copy of Lindsey Kent Springer’s Notice

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of Appeal was ecf’d on April 7 5 201 0 as well as hand delivered, to:

Kenneth P. Snoke,
Charles O'Reilly,
Oscar Stilley

